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12                             UNITED STATES DISTRICT COURT
13                            CENTRAL DISTRICT OF CALIFORNIA

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15   DEMETA REYES, individually and on          Case No. 8:16-cv-00563-SVW-AFM
     behalf of all others similarly situated,
16                                              Hon. Stephen V. Wilson
17               Plaintiff,
                                                ORDER GRANTING PLAINTIFF’S
18               vs.                            MOTION FOR ATTORNEYS’
19                                              FEES AND SECOND
     EXPERIAN INFORMATION                       SETTLEMENT DISTRIBUTION
20   SOLUTIONS, INC.,
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                 Defendant.
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1          Before the Court is Plaintiff’s unopposed motion for attorneys’ fees and second
2    settlement distribution. For good cause shown, the Court GRANTS the motion and orders
3    as follows:
4          1.      On July 30, 2020, this Court entered an order granting final approval to a
5    proposed class action settlement in this matter and granting in part Plaintiff’s motion for
6    attorney’s fees and costs (Dkt. 159).
7          2.      Following entry of the final approval order, the parties filed a stipulation
8    setting forth a proposal for making settlement distributions pending class counsel’s appeal
9    of the attorneys’ fee award and addressing the potentiality of a second distribution
10   following the appeal. (Dkt. 160). On August 27, 2020, the Court adopted the stipulation
11   and entered an order regarding initial settlement distribution (Dkt. 161).
12         3.      The order provided that prior to the appeal of the attorneys’ fee award,
13   Experian would fully fund the settlement fund in the amount of $24,000,000, which would
14   satisfy its obligations under the Settlement. (Dkt. 161, ¶ 1). The settlement administrator
15   would then issue settlement checks in the amount of approximately $278 to more than
16   56,000 class members, which would result in equal distribution of the settlement fund to
17   all class members after payment is allocated for approved costs and expenses in the
18   amount of $130,482.24, approved notice and settlement administration costs in the
19   amount of $110,950, the approved service award payment of $15,000, and less the amount
20   of attorneys’ fees in controversy on appeal ($8,000,000), which was to be held in escrow
21   pending resolution of the appeal. (Id., ¶ 2).
22         4.      The order further provided that following resolution of the appeal, all funds
23   not awarded for attorney’s fees shall be distributed equally among class members in the
24   form of a settlement check issued within 30 days of the date of completion of all
25   proceedings arising out of the appeal. (Id., ¶ 3). All costs associated with making a
26   subsequent distribution post-appeal, if any, shall be borne solely by Plaintiff’s counsel
27   and not paid from the settlement fund. (Id., ¶ 4).
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1           5.    Following entry of this order, the Court-approved settlement administrator,
2    Angeion Group, caused settlement checks in the amount of $278.38 to be mailed to 56,553
3    class members. (Dkt. 167-2, ¶ 3). Due to rounding, $343.62 was left undistributed and
4    will be added to the second settlement distribution. Id.
5           6.    On April 8, 2021, the U.S. Court of Appeals for the Ninth Circuit issued an
6    opinion holding that Plaintiff’s counsel was entitled to fees of no less than 25% of the
7    $24,000,000 fund. (Dkt. 165).
8           7.    Following issuance of the Ninth Circuit’s opinion, Plaintiff filed an
9    unopposed motion seeking an attorneys’ fee award of $6,000,000, equaling 25% of the
10   settlement fund, with the remaining $2,000,000 held in escrow plus the previously
11   undistributed $343.63 to be distributed equally among the class. (Dkt. 167). Angeion has
12   represented that the cost of the second settlement distribution will be $65,618, which
13   Plaintiff’s counsel have agreed to deduct from their fee allocation. (Dkt. 167-2, ¶ 4).
14          8.    Accordingly, the Court approves the following settlement distribution which
15   shall be made within 30 days of the date of this order:
16               Amount                                   Recipient
17                                 Attorneys’ fees (25% of the settlement fund less
                  $5,934,382.00
18                                 administration costs for second settlement distribution)

19                   $65,618.00 Administration costs for second settlement distribution
                                Amount distributed equally among 56,553 class
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                  $2,000,343.63 members, resulting in individual payouts of $35.37 per
21                              class member
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1          9.     In accordance with the Settlement Agreement, the Court retains jurisdiction
2    for the limited purpose of effectuating a third settlement distribution in the event there are
3    remaining funds as the result of uncashed checks.
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6           IT IS SO ORDERED.
7
              May 4, 2021
8    Dated: _________________
9                                                          _______________________
10                                                         Honorable Stephen V. Wilson
                                                           United States District Court Judge
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